                                                                                                                                                                       Filed
                                                    Case 1:25-cv-00079           Document 1-1            Filed 02/21/25         Page 1 of 20    File Date: 1/3/2025 2:30 PM
                                                                                                                                               Rockingham Superior Court
                                                                                                                                                         E-Filed Document
                                                                     THE STATE OF NEW HAMPSHIRE
                                                                                   JUDICIAL BRANCH                                                    EXHIBIT
                                                                                  http://www.courts.state.nh.us
                                                                                                                                                           1
                                   Court Name:           Rockingham - Superior Court

                                   Case Name:            Christopher Beres v. RELX, Inc. d/b/a LexisNexis USA, et al.

                                   Case Number:
                                   (if known)
                                                                                        COMPLAINT
                                                               Requested: zJury Trial (as allowed by law) 0Bench Trial
                                   1. Plaintiffs Name Christopher Beres
                                       Residence Address 1600 Sarno Road Ste. 1, Melbourne, FL 32935
                                       Mailing Address (if different)
                                       Telephone Number(Home) (321) 339-9301                                  (Mobile)


                                   2. Defendant's Name RELX, Inc. d/b/a LexisNexis USA
                                       Residence Address           Ct Corporation System, 2 1/2 Beacon Street, Concord, NH 03301

                                       MailingAddress(ifdifferent)
                                                                                       [See Attachment(s), item 'Additional Defendants(s)')


                                   3. First thing that happened (in one sentence):
                                        Claim amount: $10,000,000.00. Defendants defamed and committed IIED against me in

                                        five defamatory statements contained in three articles in Law360.




                                   4. Second thing that happened (in one sentence):
                                       See attached complaint.




                                   5. Third thing that happened (in one sentence):
TurboCourtcom Fonn Set #10866735




                                   Continue on using separately numbered paragraphs (attach additional sheets if necessary).
                                   NHJB-2688-Se (07/01/2018)                                   Page 1 of 2
                                                                       This is a Service Document For Case: 218-2025-CV-00026
                                                                                      Rockingham Superior Court
                                                                                           1/7/2025 8:06 AM
                                                       Case 1:25-cv-00079          Document 1-1                  Filed 02/21/25   Page 2 of 20
                                   'Use Name: Christopher Beres v, RELX, Inc. d/b/a LexisNexis USA, et al.
                                     Case Number:
                                     COMPLAINT
                                     For the reasons stated in this Complaint, I request that the Court issue the following orders:
                                     A. Describe the orders you want the Court to make:
                                     An award of general, special,, and punitive damages within the jurisdictional limits

                                     of the Court

                                     Attorneys' fees




                                     B. All other relief the Court deems fair and just. [See Attachment(s), 'Item A' (continued)]

                                     Christopher Beres                                                    /s/ Christopher Beres                  1/3/25
                                     Name of Filer                                                         Signature of Filer                       Date
                                                                                                               (321) 339-9301
                                     Law Firm, if applicable              Bar ID # of attorney                 Telephone
                                     1600 Sarno Road Ste. 1                                                    bereschristopherteny@gmail.com
                                     Address                                                                   E-mail
                                     Melbourne, FL 32935
                                     City                         State              Zip code
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                                     NHJB-20813-Se (07/01/2018)                                  Page 2 of 2
                                            Case 1:25-cv-00079                       Document 1-1                  Filed 02/21/25                Page 3 of 20
•




                                                                                  Attachment Page 1 (of                          )
                                   To Complaint

                                    Additional Defendants(s)
                                    Defendant #1
                                    Officer or Authorized Agent: Ct Corporation


                                    Defendant #2
                                    Name: Portfolio Media, Inc.
                                    Business Address:                  Ct Corporation System, 2 1/2 Beacon Street, Concord, NH
                                    03301
                                    Officer or Authorized Agent: Ct Corporation


                                    Item A (continued)
                                    An award of all interest and costs in connection with this matter


                                    Such other and further relief that this Court deems just, equitable, and
                                    proper.
TurboCourtcom Form Set #10866735




                                   Ifthe item that this Attachment concerns is made under penalty of perjury, all statements in this Attachment are made under penalty of perjury.
                                                                                                                       Filed
      Case 1:25-cv-00079         Document 1-1            Filed 02/21/25         Page 4 of 20    File Date: 1/3/2025 2:30 PM
                                                                                               Rockingham Superior Court
                                                                                                         E-Filed Document




                              STATE OF NEW HAMPSHIRE
ROCKINGHAM                                                                      SUPERIOR COURT

                                      Christopher Beres

                                                 V.

                                 RELX, Inc. d/b/a LexisNexis
                                             and
                                    Portfolio Media, Inc.

                                           Docket No.

                   COMPLAINT AND DEMAND FOR JURY TRIAL

      COMES NOW Plaintiff Christopher Beres ("Plaintiff') with complaint against

Defendants RELX, Inc. d/b/a LexisNexis ("RELX")and Portfolio Media, Inc.("PMI" and

together with RELX,"Defendants")and shows the Court the following:

                                      INTRODUCTION

      1.This is a defamation and IIED case based on Defendants'false and defamatory

articles in Law360. Exhibit A.

                                           PARTIES

      2.Plaintiff is an attorney and consultant doing business around the country

including in New Hampshire.

      3.Defendant RELX is a Delaware corporation doing business in New Hampshire

registered with the New Hampshire Department of State, with addresses at 8 Industrial

Way, Salem, New Hampshire and 361 Hanover St Portsmouth, New Hampshire 03801-

3959. Its registered agent is CT Corporation System,2 1/2 Beacon Street, Concord,

NH, 03301-4447. RELX is the owner and publisher of"Law360".



                                                 1

                       This is a Service Document For Case: 218-2025-CV-00026
                                      Rockingham Superior Court
                                           1/7/2025 8:06 AM
        Case 1:25-cv-00079      Document 1-1      Filed 02/21/25     Page 5 of 20




        4. Defendant PMI is a New York corporation doing business in New Hampshire

 registered with the New Hampshire Department of State, with its registered agent at CT

 Corporation System,2 1/2 Beacon Street, Concord, NH,03301-4447. It is the

 publishing division of RELX for "Law360".

        5.The events which gave rise to this Complaint occurred in Rockingham County

 and as such Rockingham Superior Court is the proper venue for this action.

                              JURISDICTION AND VENUE

        6.The Court has subject matter jurisdiction over this action pursuant to N.H.

 R.S.A. 491:7.

        7.The Court has personal jurisdiction over Defendants because they committed

-,,-tortious acts in New Hampshire and do business in New Hampshire,thereby availing

 itself of New Hampshire law and the benefit of conducting activities within the forum

 state. LexisNexis offers Law360, a legal news and analysis service. It has thousands of

 subscribers throughout New Hampshire. It advertises that:"Users with both a Lexis

 subscription and an unlimited-seat Law360 subscription can access Law360 news

 content in Lexis." LexisNexis is the official publisher of the New Hampshire Reports,

 which contain opinions decided by the Supreme Court of New Hampshire. It also

 publishes New Hampshire Legal Insights Blog, New Hampshire Revised Statutes,

 Annotated New Hampshire Court Rules, Annotated Practical Guidance New Hampshire

 Authors, and New Hampshire Reports Current Case Service. Law360 publishes "New

 Hampshire: Articles" including recently 215 articles. Defendants publish and sell




                                             2
       Case 1:25-cv-00079        Document 1-1       Filed 02/21/25    Page 6 of 20




content about New Hampshire law and have reporters covering cases in the New

Hampshire courts.

       8. Further, New Hampshire has a strong interest in this litigation; having the case

heard in New Hampshire provides Plaintiff an effective and convenient forum to obtain

relief; and the acts of the multiple defendants are intertwined, such that interstate

judicial efficiency is served by avoiding multiple lawsuits.

       9.Venue is proper in this Court pursuant to N.H. R.S.A. 507:9 because

Defendants have offices in Rockingham County.

                                FACTUAL BACKGROUND

       10. Plaintiff is an international expert who does business in New Hampshire. He

received a law degree from Capital University and an M.A. in Oriental Studies from the

University of Pennsylvania. He is a member in good standing of the Bars of

Connecticut, the District of Columbia, Florida, and New York for over 20 years.

       1 1. In late 2021, 2022,and 2023, Defendants published five defamatory

statements in three libelous articles about Plaintiff.

       12. Defendants made a series offalse and defamatory statements which were

made to third parties, including readers in New Hampshire, since they are and were

available on the worldwide web.

       13. Specifically, Defendants made false and defamatory statements that Plaintiff

tried to extort Toyota Motor Corporation ("Toyota") and its law firm Wilmer, Cutler,

Pickering Hale and Dorr LLP ("Wilmer Hale") because he sent Toyota's chairman Akio

Toyoda what a federal judge, Hon Lewis J. Liman, called "a routine demand letter and


                                             3
       Case 1:25-cv-00079        Document 1-1       Filed 02/21/25     Page 7 of 20




it's not an extortion" on April 7, 2020. Defendants repeatedly lied about the contents of

Plaintiffs demand letter to Toyota that he demanded payment of $450,000 (since

extortion requires a specific money demand)and threatened to disclose Toyota's

privileged and confidential information if he did not receive it. Extortion is a crime in

New York. Neither Plaintiff nor his client were ever sued for extortion. However,

Defendants continued to lie about Plaintiffs letter to Toyota, to state or infer that he was

part of an extortion scheme, and to refer to the case as "the Extortion Case" and "the

Blackmail Case".

       14. Plaintiff's actual letter to Toyota, which does not contain any of the contents

Defendants have claimed that it does for years and years on end, is attached as Exhibit

B.



                                Defamatory Statements


           "Ex-WilmerHale Temp Moves To DQ Judge In Employment Case"
                               December 20, 2021

                                       Statement 1

       15. The first written statement at issue is:"A former WilmerHale document

reviewer said U.S. District Judge Lewis J. Liman should be disqualified from overseeing

a Southern District of New York suit that accuses him of extorting his former law firm

because of the judge's alleged previous employment there."

       16. It should be noted that no one in the world except for Defendants ever

accused Plaintiff or his client "of extorting his former law firm"(Wilmer Hale).


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            "Agency Pans Ex-Wilmer Hale Temp's DQ Bid In Extortion Case"
                                  January 4, 2022

                                       Statement2

       17. The second written statement at issue is: "Agency Pans Ex-WilmerHale

Temp's DQ Bid In Extortion Case."



                                       Statement 3

       18. The third written statement at issue is: "HC2 sued Delaney, who'd worked on

a Toyota matter as a Thai language reviewer for WilmerHale via a staffing agency,for

allegedly trying to extort $450,000 from the company, WilmerHale and the car maker,

and for allegedly revealing Toyota's sensitive company information in a Florida lawsuit

after they failed to pay up."



                "Court Rejects Recusal Bid In WilmerHale Extortion Suit"
                                    January 6, 2022

                                      Statement 4
       19. The fourth written statement at issue is: "Court Rejects Recusal Bid in

WilmerHale Extortion Suit."

                                       Statement 5

      20. The fifth written statement at issue is: "A New York federal district court said

Thursday that it would not recuse itself in a suit against a former WilmerHale document

reviewer that accuses him of extorting the law firm...."

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           The Damaging Effects of Defendants' Defamatory Statements

       21. Defendants' defamatory statements caused Plaintiff financial damages and

the loss of income.

       22. Plaintiffs professional reputation and practice have been irreparably harmed

by Law360's false articles and Defendants' propagation of lies about him in New

Hampshire and around the world.

       23. Defendants' defamation also caused Plaintiff to suffer from emotional distress.

                                 COUNT I — DEFAMATION

       24. Plaintiff repeats and re-alleges the allegations ofthe preceding paragraphs as

if they were set forth herein.

       25. All of the statements contain asserted statements offact.

       26. All of the statements concerned Plaintiff, who is a private party.

       27. The asserted statements offact, including those set forth above, were false.

       28. Plaintiff has never done any of the acts implied by Defendants.

       29. As a direct and proximate result of Defendants' conduct, Plaintiff has suffered

damages and economic losses in amounts that will be established at trial, as the third

parties that the defamatory statements were published to were caused to have lower

esteem for Plaintiff as a result of these statements.

      30. As a direct and proximate result of Defendants' conduct, Plaintiff has suffered

and will continue to suffer extreme mental anguish and emotional distress.

                           COUNT II- DEFAMATION PER SE


                                             6
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       31. Plaintiff repeats and re-alleges the allegations of the preceding paragraphs as

if they were set forth herein.

       32. Defendants' statements about Plaintiff were defamation per se under New

Hampshire law because 1) they falsely accused Plaintiff of a crime and 2)the statements

i njured Plaintiff in his trade, business, or profession. Plaintiff is a lawyer.

       33. Since Defendants' statements fall within these two categories, Plaintiff does

not need to prove damages specifically and can permit a jury to presume damages exist

and allege that they occurred generally.




                       COUNT III — DEFAMATION BY INFERENCE

       34. Plaintiff repeats and re-alleges the allegations of the preceding paragraphs as

if they were set forth herein.

       35. In their articles, Defendants also defamed Plaintiff by inference. This type of

defamation is specifically-recognized in New Hampshire.

       36. Defendants inferred that Plaintiff was unethical and a criminal. They accused

him of extortion by inference by lying about the contents of his April 7, 2020 letter to

Akio Toyoda and otherwise. (

       37. As a result, Plaintiff has suffered damages and extreme mental anguish and

emotional distress that he will prove at trial.

        COUNT IV — INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS




                                               7
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       38. Plaintiff repeats and re-alleges the allegations of the preceding paragraphs as

if they were set forth herein.

       39. Defendants engaged in intentional infliction of emotional distress against

Plaintiff by:(1) extreme and outrageous conduct,(2) intentionally or recklessly causing

Plaintiff severe emotional distress and (3)serious mental and emotional harm

accompanied by objective physical symptoms.

      40. As a result of Defendants' tortious conduct, Plaintiff has suffered severe

emotional distress, including fright, horror, grief, shame, humiliation, embarrassment,

anger, chagrin, disappointment, and worry.

      41. Defendants' conduct caused Plaintiff to require medical care for high blood

pressure and other serious medical conditions.



      WHEREFORE, Plaintiff respectfully requests:

A.   An award of general, special, and punitive damages within the jurisdictional limits

of the Court;

B.   Attorneys'fees;

C.   An award of all interest and costs in connection with this matter; and

D. Such other and further relief that this Court deems just, equitable, and proper.

                                    JURY DEMAND

      PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.

Dated: January 3, 2025                   Respectfully submitted:
                                         /s/Christopher Beres
                                         Christopher Beres
                                         Plaintiff

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                                           1600 Sarno Road Ste. 1
                                           Melbourne, Florida 32935
                                          (321) 339-9301
                                           Bereschristophertenvomail.com

                                     CERTIFICATION

       I certify that a copy of Plaintiff's Complaint and Demand for a Jury Trial as

approved by this Court has on this                 ,2024 been forwarded to Defendants

as listed on the attached service list.

                                          is/Christopher Beres

                                      SERVICE LIST

RELX, Inc. d/b/a LexisNexis USA
CT Corporation System
2 1/2 Beacon Street
Concord, NH, 03301-4447

Portfolio Media, Inc.
CT Corporation System
2 1/2 Beacon Street
Concord, NH, 03301-4447




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                                                                                                                                    EXHIBIT A
                                                                                                             o
                                                                                                                 LAW360®
                                                     Portfolio Media. Inc. 111 West 19th Street, 5th floor I New York, NY 10011 I www.law360.com
                                                                   Phone: +1 646 783 7100 I Fax: +1 646 783 7161 I customerservice@law360.com



               Ex-WilmerHale Temp Moves To DQ Judge In
               Employment Case
               By lack Rodgers

               Law360 (December 20, 2021, 3:48 PM EST) -1     'A—former WilmerHale document reviewer said U:S1,
              [District Judge Lewis J. Liman should be disqualified from overseeing a Southern Distrifflif-NaTYak
              [gilt that accuses him of extorting his former law firm because of the judge's alleged —Wititisl
                                                                                                     131
               employment there.'

               Andrew Delaney, who worked as a Thai language document reviewer for WilmerHale through staffing
               agency HC2 or Hire Counsel, said in a motion to recuse Judge Liman Monday that his alleged former
               work as a WilmerHale partner was a conflict of interest.

               Judge Liman's relationships with two current WilmerHale partners, Jay Holtmeier and Jamie Gorelick,
               contributed to "rulings against Delaney without regard to the case law or applicable legal standards,"
               and were further evidence of Judge Liman's bias, according to that motion.

              "This case should never have been filed in this court in the first place and has been dragging out
              unlawfully for 20 months despite there being no jurisdiction," Delaney said in the motion. "This is due
              to Judge Liman's neglect of his duty as an Article III officer."

               Hire Counsel sued Delaney in April, saying he was threatening to expose proprietary information
               about WilmerHale's review of Toyota's sensitive documents.

               But Delaney said in his Monday filing that Judge Liman's bias as a former WilmerHale partner
               resulted in the dismissal of his $20 million counterclaim against the agency for whistleblower
               retaliation and a number of other infractions in response to his assertion that the firm was
               sidestepping COVID-19 protections and regulations. Judge Liman's bias had resulted in his dismissal
               of those claims, Delaney said.

              "Secondly, recusal is warranted due to Judge Liman's opinion that HC2's false allegations against
              Delaney 'have to be accepted as true' and were 'serious,' whereas all of his truthful claims against
              HC2 were 'speculative," Delaney said in the motion.

              While Delaney had reported the firm's employees were coming to work with flu-like symptoms and
              failed to take proper precautions to not spread disease, Judge Liman had ruled in dismissing those
              counterclaims that Delaney shouldn't have been given additional whistleblower protection from
              termination because of superficial issues with his language, the motion said.

              "Thus, according to Judge Liman, Delaney's report was not valid because he used the words 'flu-like
              symptoms' and not 'acute respiratory illnesses' and when he complained about workers coughing and
              sneezing that Delaney did not state that they 'failed to cover their noses and mouths with a tissue,"
              Delaney said in the motion. "This is manipulative semantics calculated to dismiss all of Delaney's
              counterclaims."

              In an email to Law360 on Monday, Delaney said the suit "is and was a fraud on the court."

              "There is no subject matter jurisdiction and no diversity," he said. "The case should have been
              dismissed a year ago."

               Michael Nacchio, an Ogletree Deakins Nash Smoak & Stewart PC attorney who represents HC2, did
https://www.law360.comfarticles/1450258/print?section=commercialcontracts                                                                   1/2
                                                                                                         •••••••••••   ••••   •   •   •N • •••   .• A

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                                                                                             •




               not respond to a request for comment Monday.

               HC2 is represented by Michael Nacchio and Valerie Weiss of Ogletree Deakins Nash Smoak & Stewart
               PC.

               Andrew Delaney represents himself.

               The case is HC2 Inc. v. Delaney, case number 1:30-cv-03178, in the U.S. District Court for the
               Southern District of New York.

               --Additional reporting by Frank G. Runyeon. Editing by Gemma Horowitz.


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https://www.law360.com/articles/1450258/print?section=commercialcontracts                                                                 212
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               rA gency Pans Ex-WilmerHale Temp's DQ Bi i In
               Extortion Casel
               By Andrew Strickler

               Law360 (January 4, 2022, 4:39 PM EST) --!The "latest fantasy" of a onetime WilmerHal document
               reviewer seeking to remove the New York federal judge overseeing an extortion case against him,
               should be rejected, staffing agency HC2 told the court Monday.

               Answering a recusal request from Andrew Delaney, the company urged the court to reject his claims
               that U.S. District Judge Lewis J. Liman was biased ecause of his long-ago employment at
               WilmerHale, saying the request was rife with "facial absurdity" and legal defects.

               The company argued that Delaney lost standing in the case when he was substituted out for the
               trustee of his bankruptcy estate three months ago.

               Moreover, Delaney's conspiracy-heavy motion that the court's decision to toss his counterclaims more
               than a year ago was the product of judicial bias ignores the "numerous pleading defects" the judge
               cited in his decision.

               And since the judge's former connection to WilmerHale wasn't raised over the case's nearly two-year
               duration, Delaney's request simply came too late, the company said.

               Delaney's suggestion that Judge Liman's long-ago job at a WilmerHale predecessor firm "somehow
               makes the court biased or part of a vast conspiracy theory ... is absurd, unsupported, and should be
               rejected out of hand," the filing states.

              t IC2 sued Delaney, who'd worked on a Toyota matter as a Thai language reviewer for WilrnerHaIevi j
                  taffiñ agenty,`for'allegedly trying to extb-rt—$4507000-from the company, WilmerHale and the dall
              'rnker, and for allegedly revealing Toyota's sensitive company information in a Florida lawsuiraftiTi
              they failed-to pay up,1

               Delaney then sought $20 million in damages on nine counterclaims against the agency, including
               those for fraud and whistleblower retaliation.

              The court granted HC2's initial motion to dismiss Delaney's claims without prejudice in July 2020,
              and later that year threw out his amended counterclaims with prejudice.

              The case was later stayed after HC2 notified the court that Delaney had filed a Chapter 7 petition in
              New York. In October, a bankruptcy judge approved a settlement between the trustee of Delaney's
              estate and HC2 that released Delaney's already-dismissed counterclaims.

              Judge Liman then ordered the substitution of the trustee as defendant, a decision Delaney has
              already indicated he will appeal.

              In recent weeks, Delaney was back in court with a disqualification motion in which he argued that
              Judge Liman had undisclosed conflicts of interest as a former WilmerHale partner that led to
              "constant bias and rulings" against him.

              Delaney, who is representing himself, did not reply to a request for comment. Michael Nacchio of
              Ogletree Deakins Nash Smoak & Stewart PC, who represents HC2, also did not respond to a
              message.
https://www.law360.com/articles/1452115/print?section=employment                                                                              1/2
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               HC2 is represented by Michael Nacchio and Valerie Weiss of Ogletree Deakins Nash Smoak & Stewart
               PC.

               Andrew Delaney is representing himself.

               The case is HC2 Inc. v. Delaney, case number 1:30-cv-03178, in the U.S. District Court for the
               Southern District of New York.

               --Additional reporting by Jack Rogers and Frank G. Runyeon. Editing by Adam LoBelia.


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             [Court Rejects Recusal Bid In WilmerHale Extortionl
              SUit
               By Matt Perez

             Law360 (January 6, 2022, 4:54 PM EST) -FA New York federal district court said Thursday that
              would not recuse itself in a suit against a former WilmerHale document reviewer that accuses him ofi
             ,atorting the law firm, despite his argument th-a-t-U.S. District Judge Lewis J. Liman should be
             disqualified because of his previous employment-there.
             '

              The U.S. District Court for the Southern District of New York determined that Andrew Delaney, who
              filed for Chapter 7 bankruptcy last fall, had no standing to invoke the recusal statute given that he
              was replaced as defendant in the bankruptcy case by the trustee in November.

               pelaney was sued by H2C, the staffing agency that had hired him to review documents foil
                 IlmerHale, in April 2020. Delaney, who'd worked on a Tojiaa matter as a Thai- language review
              ToTWilrrieltrale, was accused of trying to extort $450,000 frWthe agency, WilmerHale and-th-  e]
              parmaker, and of revealing Toyoffs sensitive company information in a Florida lawsuit after thWi
              failed-to pay upj

               Delaney later sought $20 million in damages on nine counterclaims including fraud and whistleblower
               retaliation, but the court eventually dismissed his amended counterclaims with prejudice. Some time
               after Delaney sought Chapter 7 bankruptcy, the trustee, Gregory Messer, reached a settlement with
               H2C, known as Hire Counsel, that dismissed all of Delaney's counterclaims.

              "With the substitution of the Chapter 7 trustee, Delaney was terminated as a party to this action,"
              the court wrote Thursday.

               The court also denied what it called his "meritless" arguments explaining why the court's judges,
               specifically Judge Liman, should recuse themselves from the suit following the denial of several of
               Delaney's counterclaims.

               The court found that an "objective, informed observer" could not question the court's impartiality due
               to Judge Liman's former employment at Wilmer Cutler & Pickering (now WilmerHale) nearly 20 years
               ago, given that the facts of the dispute emerged over a decade after that affiliation ended.

               Further, the court denied Delaney's accusation that the court has an ongoing professional or personal
               relationship with WilmerHale partners Jay Holtmeier and Jamie Gorelick.

              "Delaney points out that the court and Jay Holtmeier were both listed on the government's brief in
              United States v. Bayless, which was decided in 2000," Judge Liman wrote in the order. "That, in my
              prior capacity as an assistant United States attorney over two decades ago, I worked with Mr.
              Holtmeier on behalf of our common client — the United States government — is too remote to this
              case to raise the appearance of impropriety."

              Finally, the court ruled that the recusal motion filed last month was untimely given that it came
              over a year and half after the start of the case and because Judge Liman's affiliation with the
              predecessor of WilmerHale had been public knowledge for two decades.

              Delaney later sought $20 million in damages on nine counterclaims including fraud and whistleblower
              retaliation, but the court granted HC2's initial motion to dismiss the claims without prejudice in July
              2020 and later dismissed his amended counterclaims with prejudice.
https://www.law360.com/articles/1453142/print?section=commercialcontracts                                                                      112
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               The court on Thursday ordered HC2 and the defendant to file a joint letter by Feb. 18 stating the
               status of the bankruptcy matter, the automatic stay issued in relation to it and whether the stay
               should remain in place or not.

               Delaney and Michael Nacchio of Ogletree Deakins Nash Smoak & Stewart PC, who represents HC2,
               did not immediately respond to a request for comment.

               HC2 is represented by Michael Nacchio and Valerie Weiss of Ogletree Deakins Nash Smoak & Stewart
               PC.

               Andrew Delaney is representing himself.

               The case is HC2 Inc. v. Delaney, case number 1:30-cv-03178, in the U.S. District Court for the
               Southern District of New York.

               -Additional reporting by Andrew Strickler. Editing by Karin Roberts.


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                                                                                                            EXHIBIT B


                                  The Law Office of Christopher T. Beres
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                                         Melbourne, FL 32935
                                           Tel.(321)339-9301
                                     christopherberes8@amail.com



 April 07,2020




'Wm
  Toyota Motor Corporation
  1 Toyota-Cho
  Toyota City
  Aichi Prefecture 471-8571
  Japan
 IMEE111 1_tQs1!g         e

 Dear Mr



 I represent Andrew Delaney against Toyota.



 You used Mr. Delaney to be a         language document reviewer to assist you with
                                                                starting on September 30,2019.


 On March 17,2020, you had Mr. Delaney illegallyfiredfor raising concerns about unlawful and unsafe
 conditions in your workplace.


 Prior to this date, you illegally disclosed Mr. Delaney's identity, involvement, and work-product to the
 other side.



 Atfirst, you did notinform him about the subject matter ofthe case which was




 Toyota insisted on
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For Toyota,                                                                but you had no right to drag
Mr. Delaney into this.



                                                                                You have destroyed Mr.
Delaney's residence and business and placed his life in grave danger.



After Mr. Delaney was a whistleblower and complained about                         • you defamed him,
made up lies about him, and threatened him.



I hereby grant you 7daysfrom the date ofthis letter to contact me with your offer to settle this case.



If you fail to contact me by this date, I will commence legal action against you withoutfurther notice.


Very truly yours,

          e nr.

Christopher T. Beres
